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                          UNITED STATES DISTRICT COURT
                             DISTRICT OF NEW JERSEY



 E M E R G E N C Y PH Y SIC IA N S      OF    ST.      Civil Action Number: 2:09-6244
 CLARE’S, LLC, et al.,

       Plaintiffs,

 v.                                                                ORDER

 PROASSURANCE CORPORATION, et al.,                     HON. WILLIAM J. MARTINI

       Defendants.




                                         ORDER

        For the reasons elaborated in the memorandum opinion filed contemporaneously with

 this Order,

        IT IS on this 19th day of August, 2010;

        ORDERED that Defendants’ Motion to Compel Arbitration is GRANTED; this

 action is ordered to ARBITRATION; and this action is administratively STAYED pending

 arbitration or further Court order.

                                                  s/ William J. Martini
                                                  William J. Martini, U.S.D.J.
